                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LIBERTARIAN PARTY OF PENNSYLVANIA, et al.,

Plaintiffs,

v.                                                           Case No. 5:20-cv-2299


TOM WOLF, in his official capacity as Governor
of Pennsylvania, et al.,

Defendants.

                        PLAINTIFFS' RESPONSE IN OPPOSITION TO
                         PROPOSED INTERVENOR'S COMPLAINT

                                               Facts

        The COVID-19 pandemic has given rise to an extraordinary set of circumstances in

Pennsylvania and nationwide. In an effort to contain the virus and protect the public health, the

Commonwealth of Pennsylvania has implemented several emergency measures that, although

perhaps reasonable in light of the public health crisis, make it impossible for Plaintiffs and other

citizens to comply with the statutory procedures they must follow to participate in

Pennsylvania’s electoral processes.

        In particular, as voters, petition circulators, candidates and political bodies in

Pennsylvania, Plaintiffs are required by law to obtain voters’ signatures on nomination papers to

qualify their respective candidates for placement on Pennsylvania’s November 3, 2020 general

election ballot. Under the emergency measures now in place, however, Plaintiffs cannot lawfully

comply with these requirements. On March 6, 2020, Governor Wolf proclaimed the existence of

a disaster emergency throughout the Commonwealth pursuant to 35 Pa. C.S. § 7301(c). See

“Proclamation      of     Disaster    Emergency”       (March      6,    2020),     available     at

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https://www.governor.pa.gov/wpcontent/uploads/2020/03/20200306-COVID19-Digital-

Proclamation.pdf (accessed May 13, 2020).

         Thereafter, Governor Wolf issued a number of executive orders that imposed sweeping

restrictions on virtually every aspect of citizens’ daily life and activities. By an order entered on

March 19, 2020, which took effect on March 21, 2020, Governor Wolf required the closure of all

“non-life sustaining businesses” – including “political” organizations – and provided for

“enforcement actions” to be taken against businesses that fail to comply. See “Order of the

Governor of Pennsylvania Regarding the Closure of All Businesses that are not Life Sustaining”

(March 19, 2020).

         On March 23, 2020, Governor Wolf issued a “stay at home” order effective until April 6,

2020, which required that “all individuals” residing in several counties across the

Commonwealth “stay at home except as needed to access, support, or provide life sustaining

business, emergency, or government services,” and that individuals who leave their homes “must

employ social distancing practices as defined by the Centers for Disease Control and

Prevention.”

         The order further provided that “gatherings of individuals outside of the home are

generally prohibited except as may be required to access, support or provide life sustaining

services.” See “Order of the Governor of the Commonwealth of Pennsylvania for Individuals to

Stay at Home” (March 23, 2020). Several subsequent orders applied the terms of the Governor’s

stay at home order to several more counties. Then, on April 1, 2020, Governor Wolf entered a

statewide “stay at home” order, to remain in effect until April 30, 2020. See “Order of the

Governor of the Commonwealth of Pennsylvania for Individuals to Stay at Home” (April 1,

2020).



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       On April 22, 2020, Governor Wolf instituted a process to “reopen Pennsylvania,” to

commence on May 8, 2020, pursuant to which each county in the Commonwealth would be

designated as in a “red,” “yellow” or “green” phase. Counties in red phase remain under the stay

at home order until at least June 4, 2020; in yellow phase counties, the stay at home order is

lifted but “large gatherings of more than 25” remain prohibited, indoor recreation, personal care

facilities and all entertainment facilities must remain closed, and restaurants and bars are limited

to carry-out only service.

       Further, social distancing – maintaining at least six feet from other individuals – is

required in yellow phase counties. To date, all counties in Pennsylvania are designated as red

phase or yellow phase. Petitioning to qualify candidates and Political Bodies for Pennsylvania’s

November 3, 2020 general election ballot is not defined as an “essential” activity under

Governor Wolf’s stay at home orders. Moreover, even in yellow phase counties, mandatory

social distancing means that collecting signatures by hand remains a prohibited activity.

       Consequently, the public health emergency caused by COVID-19 and the various

executive orders issued by Governor Wolf make it both unlawful and practically impossible to

gather signatures for nomination papers throughout Pennsylvania. As the Governor’s website

cautions, law enforcement is authorized to enforce the Governor’s orders, and “citations are

possible for violators….” Given the severity of the COVID19 pandemic and its impact on

Pennsylvania, it remains uncertain whether petitioning will become lawful during any part of the

statutorily-mandated signature collection period prior to the August 3, 2020 deadline for Political

Bodies to file nomination papers. And even if the legal prohibitions are lifted – including

mandatory social distancing requirements – petitioning will remain a practical impossibility due




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to the unacceptable risk to the public health posed by personal contact with large numbers of

people during a pandemic.

       On March 30, 2020 and March 31, 2020, respectively, Plaintiffs GPPA and LPPA sent

Governor Wolf and Secretary Boockvar urgent written requests for relief from Pennsylvania’s

petitioning requirements as applied to them in the 2020 election cycle. (Verified Complaint Ex.

B, Ex. C.) Plaintiff CPPA did the same on April 20, 2020. (Verified Complaint Ex. D.)

Receiving no response, on April 29, 2020 Plaintiff LPPA sent Governor Wolf and Secretary

Boockvar another letter reiterating its urgent request for relief, and Plaintiff GPPA did so on

April 30, 2020. (Verified Complaint Ex. E, Ex. F.) On May 4, 2020 – five weeks after initially

making their urgent requests – Plaintiffs LPPA and GPPA received a letter from Timothy Gates,

Chief Counsel of the Governor’s Office of General Counsel, advising that his office is “currently

reviewing this matter,” and that “we will be in touch soon.” (Verified Complaint Ex. G.)

       To date, Plaintiffs have received no further response from Defendants. Meanwhile, the

clock is ticking and the August 3, 2020 deadline for Plaintiffs to file nomination papers rapidly

approaches. Petitioning remains unlawful in Pennsylvania, and there is no reason to believe it

will become legal – much less safe – anytime soon. Plaintiffs therefore urgently need the relief

requested herein, to protect their speech, petitioning, voting, associational and equal protection

rights as guaranteed by the First and Fourteenth Amendments. In the absence of such relief,

Plaintiffs will suffer irreparable harm, because they are prohibited from petitioning and their

respective candidates will be excluded from Pennsylvania’s 2020 general election ballot.

       On May 15, 2020, Plaintiffs filed this action. See Complaint, R.1. Almost two weeks

later, on May 27, 2020, Proposed Intervenors sought to intervene. See Motion to Intervene,

R.12. Proposed Intervenors, however, failed to include their proposed pleading with their



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motion, making it difficult to assess their purported interest in the case, and whether

Pennsylvania officials would adequately represent that interest. The Court ordered Proposed

Intervenors to file their required pleading by June 5, 2020, see Order, R.21, which Proposed

Intervenors have now done. See Proposed Answer, R.22.

                                            Argument

       Federal Rule of Civil Procedure 24, which governs intervention, states, in relevant part:
       (a) INTERVENTION    OF   RIGHT. On timely motion, the court must permit anyone to
       intervene who:
       …

       (2) claims an interest relating to the property or transaction that is the subject of the
       action, and is so situated that disposing of the action may as a practical matter impair or
       impede the movant's ability to protect its interest, unless existing parties adequately
       represent that interest.

       (b) PERMISSIVE INTERVENTION.

       (1) In General. On timely motion, the court may permit anyone to intervene who:
       …

       (B) has a claim or defense that shares with the main action a common question of law or
       fact.
       …

       (3) Delay or Prejudice. In exercising its discretion, the court must consider whether the
       intervention will unduly delay or prejudice the adjudication of the original parties’ rights.

F. R. Civ. P. 24.

       The proposed Intervenor claims it has a right under Rule 24(a) to intervene. The Third

Circuit has stated that "a non-party is permitted to intervene under Fed. R. Civ. P. 24(a)(2) only

if:

       (1) the application for intervention is timely; (2) the applicant has a sufficient interest in
       the litigation; (3) the interest may be affected or impaired, as a practical matter by the
       disposition of the action; and (4) the interest is not adequately represented by an existing
       party in the litigation.



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Each of these requirements must be met to intervene as of right." Mountain Top Condominium

Ass'n v. Dave Staggert Master Builder, Inc., 72 F.3d 361, 365-66 (3d Cir. 1995) (citation

omitted). See also Kleisser v. U.S. Forest Service, 157 F.3d 964, 972 (3d Cir. 1998) ("adequacy

of interest alone, however, is not enough to grant intervention. Because Rule 24(a) envisions a

separate inquiry into whether the government or other existing parties will adequately advocate

the applicant's interest, courts must be careful not to blur the interest and representation factors

together.").


I.     Intervenor Has No Interest in Keeping Competitors Off the Ballot.

       Intervenor has no standing under either federal or state law to complain about

Pennsylvania's placement of competitors on its ballots. "[T]here is no constitutional right to keep

competitors off the ballot and no general constitutional right to access courts …." Mark R.

Brown, Policing Ballot Access: Lessons From Nader’s 2004 Run for President, 35 CAP. U. L.

REV. 165, 235 (2006). "This model, moreover, is the norm in other public rights settings. For

example, crime victims have no standing to challenge prosecutors' decisions, either under state

laws or under federal statutes." Id. at 235-36. As a simple competitor who wants to avoid

competition, putative Intervenor’s interest does not "relat[e] to the property or transaction that is

the subject of the action," as is required by Rule 24(a), nor is the putative Intervenor "so situated

that disposing of the action may as a practical matter impair or impede [its] ability to protect its

interest." Rule 24(a) simply does not apply here.

        Numerous courts have rejected intervention by voters and ballot competitors under

circumstances analogous to those presented here. In Goodall v. Williams, 2018 WL 2008849 (D.

Colo. 2018), for example, the Court recently ruled that Republican party agents challenging the

ballot access of a competitor lack a sufficient interest to justify intervention as of right or


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permissively. There, a candidate (Lamborn) who had been excluded for non-compliance with

Colorado's signature collection rules -- he had used a non-resident circulator -- sued in federal

court to challenge Colorado's requirement that circulators be residents. "[A] group of

individuals" including those who had successfully challenged the candidate's signature collection

efforts and had him removed from the ballot, a competitor, and even "an individual who alleges

that he was misled into signing Congressman Lamborn’s nominating petition," id. at *1,

attempted to intervene in the federal litigation.

        They collectively asserted four interests to support intervention:

        (1) preserving Colorado’s residency requirement; (2) preventing party raiding by
        ensuring that circulators of nominating petitions are registered with the same party as the
        candidate for whom they are circulating the petitions; (3) ensuring the honesty and
        integrity of the signature collection process; and (4) avoiding the uncertainty and
        difficulty in campaigning for office caused by Congressman Lamborn’s delay in bringing
        this lawsuit.

Id. at *5.

        The District Court rejected all four. The first was "too conclusory and generalized." Id.

The second, party raiding, lacked any connection to the federal litigation: "the intervenors do not

draw any connection between this requirement and the issue of party raiding." Id. The third,

“'ensuring the honesty and integrity of circulators'," the Court found, "is a generalized concern

shared by every participant in Colorado’s electoral process." Id. at *6. Further,

"the intervenors have not explained how their interest in ensuring the honesty and integrity of

circulators could be impeded by the outcome of this lawsuit." Id. It could therefore not support

intervention. The last interest, the Court concluded, while "sufficiently particularized," could not

be shown to risk any threat; intervenors "failed to demonstrate that this interest could be impeded

if Congressman Lamborn is included on the primary ballot." Id. See also Moore v. Johnson,




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2014 WL 2171097 (E.D. Mich. 2014) (rejecting intervention in almost-identical situation for

same reasons).

       The Court in League of Women Voters of Virginia v. Virginia State Board of Elections,

2020 WL 2090679 (W.D. Va., Apr. 30, 2020), recently catalogued the numerous cases rejecting

voters' attempted interventions to assist elections officials under various circumstances. Like the

Proposed Intervenor here, the intervenors in that case argued that intervention was allowed as a

matter of course in election matters. The Court disagreed after reviewing the seventeen cases

cited by the putative intervenors, finding the cases either inapposite or contradicting the

intervenors' position: "Those courts that have addressed intervention motions from similarly

situated prospective intervenors bringing similar claims have regularly denied intervention as of

right under Rule 24(a)." Id. at *4 (citing Lee v. Va. Bd. of Elections, 2015 WL 5178993, at *3 n.7

(E.D. Va. 2015); One Wis. Inst., Inc. v. Nichol, 310 F.R.D. 394, 397 (W.D. Wis. 2015); United

States v. Florida, No. 4:12-cv-285, slip op. at 3 (N.D. Fla. Nov. 6, 2012); Am. Ass'n of People

with Disabilities v. Herrera, 257 F.R.D. 236, 251 (D.N.M. 2008); Am. Civil liberties Union of

N.M. v. Santillanes, 2006 WL 8444081, at *3 (D.N.M. 2006)). In likewise denying intervention,

the Court added that "Courts are typically disinclined to allow intervenors who merely assert a

'generalized public policy interest shared by a substantial portion of the population.'”

       Proposed Intervenor, for its part, cites four cases, Pierce v. Allegheny County Bd. of

Elections, 324 F.Supp.2d 684 (W.D. Pa. 2003); Stein v. Cortes, 223 F.Supp.3d 423 (E.D. Pa.

2016); Democratic Party of Georgia, Inc. v. Crittenden, 347 F. Supp. 3d 1324 (N.D. Ga. 2018);

and Democratic Exec. Comm. of Florida v. Detzner, 347 F. Supp. 3d 1017 (N.D. Fla. 2018), to

support its claim that state political parties are commonly allowed to intervene to challenge

competitors' access to the ballot. See Supplemental Brief in Support of Motion to Intervene,



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R.18, at 8-9. Like the erroneous "wealth of authority" claim made in League of Women Voters of

Virginia, none of the cases cited by Proposed Intervenor here supports its position.

       Not one of the four cases cited by Proposed Intervenor involved ballot access; all four

involved counting, collecting, or allowing votes.       Pierce, 324 F.Supp.2d 684, involved the

delivery of absentee ballots; Crittenden, 347 F. Supp.3d 1324, involved counting absentee

ballots; Stein, 223 F. Supp.3d 423, involved a vote recount; and Detzner, 347 F. Supp.3d 1017,

addressed counting votes. Further, none of the cases involved any discussed opposition to

intervention. In Pierce it is not clear that intervention was opposed since the Court does not

address any arguments made against or for it. The same is true of Detzner, where there is no

discussion of intervention other than to mention there is an intervening party. In Stein and

Crittenden, meanwhile, intervention was not opposed at all. In sum, the proposed Intervenor here

points to no case supporting its intervention to challenge a competitor's access to the ballot.

II.    Pennsylvania Adequately Represents Intervenor's Asserted Interests.


       Proposed Intervenor cannot demonstrate that the government will not and cannot

adequately represent its asserted interests by fairly policing Pennsylvania's ballot access laws.

The Supreme Court and the Third Circuit have both made clear that a putative intervenor must

show that the existing parties cannot adequately represent its interests. Trobovich v. United Mine

Workers of America, 404 U.S. 528, 538 n.10 (1972). Where a shared interest, moreover, is being

represented by government, this showing becomes even more demanding, as made clear by the

Third Circuit in Mountain Top Condominium Ass'n, 72 F.3d at 368-69: "If his interest is identical

to that of one of the present parties, or if there is a party charged by law with representing his

interest, then a compelling showing should be required to demonstrate why this representation is

not adequate." (Emphasis added and citation omitted).


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       "[A] presumption of adequate representation generally arises when the representative is

a governmental body or officer charged by law with representing the interests of the absentee."

Commonwealth of Puerto Rico v. Rizzo, 530 F.2d 501, 505 (3d Cir. 1976). This presumption is

not easy to overcome, as demonstrated by Hoots v. Commonwealth of Pennsylvania, 672 F.2d

1133 (3d Cir. 1982), where the Court refused to allow a community association of homeowners

to intervene as intervene as defendants in an action seeking injunctive relief against intentional

racial segregation in drawing school district boundaries. The Court there found the school

district's representation fully adequate to protect the property rights of the homeowners.

       One noted authority reiterates the fact that "[t]here is a presumption that the government,

when it is a litigant, will adequately represent the interests of the public generally." S. GENSLER,

FEDERAL RULES     OF   CIVIL PROCEDURE: RULES      AND   COMMENTARY 524 (West 2014) (citations

omitted). A putative intervenor "can overcome that presumption by showing that its interests are

different from those of the public generally," id., but it "may not rely on theoretical conflicts," id.

at 525, and "must point to specific interests that the government will not adequately represent."

Id. (emphasis added and citations omitted).

       Proposed Intervenor's Answer, R. 22, now makes clear that it is simply attempting to

prevent Plaintiffs from gaining access to the ballot under conditions that must be adjusted

because of the COVID-19 crisis. It seeks to usurp the role of government officials and take

responsibility for enforcing Pennsylvania's ballot access laws. This is an improper use of Rule

24 intervention and is a far cry from the required "compelling showing," Mountain Top

Condominium Ass'n, 72 F.3d at 368-69, that Pennsylvania's representation is not adequate.

       Proposed Intervenors cannot point to any "specific interests that the government will not

adequately represent," see Gensler, supra, let alone make a "compelling showing." At best they



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claim an interest in having Pennsylvania's ballot access laws honestly and fairly administered,

but that is precisely what Pennsylvania's officials do. Proposed Intervenor's only differing

interest that Pennsylvania will not and cannot constitutionally pursue is Proposed Intervenor's

asserted[?] interest in keeping Plaintiffs off the ballot. That, however, is not a proper, let alone

legally recognized, interest.   Neither Proposed Intervenors nor Pennsylvania has a right or

interest in excluding Plaintiffs from the ballot. The only proper, legitimate interest is properly

administering constitutional ballot access laws -- something Pennsylvania officials are statutorily

required to do.

       Courts from other Circuits have rejected the very arguments Proposed Intervenor makes

here. In addition to finding that challengers have no interest in keeping a competitor off the

ballot, the Court in Goodall v. Williams, 2018 WL 2008849 (D. Colo. 2018), also rejected the

intervenor's claim that state officials inadequately represented their interests. "[T]he intervenors

argue[d] that they 'are particularly focused on validating the associational rights of the

Republican Party,' which 'requires different analysis and evidence'” id. at *7 (citation omitted),

and would "present evidence beyond the scope of what the Secretary plans to introduce—

namely, testimony regarding alleged misrepresentations made by circulators and the importance

of maintaining party cohesion." Id. The Court rejected these arguments out-of-hand, and

observed that "intervenors’ arguments do not demonstrate inadequate representation so much as

their desire to expand the scope of this lawsuit." Id.

       In League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297 (9th Cir. 1997), to cite

another example, a foundation sought to intervene in a constitutional challenge to a ballot

initiative enacted into law by popular referendum. Notwithstanding that the state's governor and

attorney general were “vigorously and professionally” defending the initiative, id. at 1307, the



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putative intervenor argued that they might be replaced because both were term-limited and not

adequately defend the case in the future. The Ninth Circuit rejected this argument, holding that

the foundation's mere “assertion that its interest might ... at some ... unspecified time in the

future, diverge from the interest of the governor and attorney general is purely speculative, and

does not justify intervention as a full-fledged party.” Id. (citation omitted).

        The Proposed Intervenor here cannot demonstrate that Pennsylvania officials any more

than Colorado officials will not adequately represent the government's interests. At best the

Proposed Intervenors simply seek to inject needless delay and superfluous arguments into the

litigation.

III.    Proposed Intervenor Waited Too Long.

        Further, the putative Intervenor here waited too long. "Whether intervention be

claimed of right or as permissive, … the application must be ‘timely.’ If it is untimely,

intervention must be denied." NAACP v. New York, 413 U.S. 345, 366 (1973). Time is of the

essence in this case, as the Introduction to this Response demonstrates. Meanwhile, the putative

Intervenor here waited two weeks following Plaintiffs' filing of this emergency action to seek

intervention. Even then, the putative Intervenor knowingly failed to submit a proposed pleading,

in violation of Rule 24(c). See Fed. R. Civ. P. 24(c) (“The motion must state the grounds for

intervention and be accompanied by a pleading that sets out the claim or defense for which

intervention is sought.”). The Third Circuit, like the Supreme Court, has made clear that

intervention must be timely. See Liberty Mutual Ins. Co. v. Treesdale, Inc., 419 F.3d 216, 220

(3d Cir. 2005). "Timeliness is determined based on the totality of the circumstances," S.

GENSLER, FEDERAL RULES        OF   CIVIL PROCEDURE: RULES     AND   COMMENTARY 516 (2014), with

Courts focusing on four factors:



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         (1) how long the applicant had notice of the interest before it made the motion to
         intervene; (2) prejudice to existing parties resulting from any delay; (3) prejudice to the
         applicant if the motion is denied; and (4) any unusual circumstances militating for or
         against a finding of timeliness."

Id. (citations omitted).

         Timeliness is extremely important in the context of elections, as demonstrated by the

Supreme Court's holding in NAACP v. New York, 413 U.S. 345 (1973). There, the Court

sustained the lower court's refusal to allow intervention in a voting rights case to an association

that waited three months after learning of the suit: "it was incumbent upon the appellants, at that

stage of the proceedings, to take immediate affirmative steps to protect their interests." Id. at 366.

         The putative Intervenor's two-week delay in moving to intervene, and its further delay in

submitting a proposed pleading as required by Rule 24(c), threatens to prejudice Plaintiffs'

ability to win the immediate, timely relief they seek. Intervenor, in contrast, risks no harm or

prejudice at all. It has no right nor protected interest in the matter. Plaintiffs' success or loss in

the present case, moreover, will have no preclusive effect on the putative Intervenor should it

seek to somehow complain to local elections officials. It therefore has no interest in avoiding an

unfavorable precedent. See Bethune Plaza, Inc. v. Lumpkin, 863 F.2d 525, 531-33 (7th Cir.

1988).

IV.      Proposed Intervenor Should Not be Allowed to Intervene Permissively.

         As for the Intervenor's attempt to intervene permissively under Rule 24(b), that too must

fail -- for the same reasons described above. In Hoots v. Commonwealth of Pennsylvania, 672

F.2d at 1136, the Third Circuit observed that denial of permissive intervention goes in lock-step

with denial intervention as of right when interests are adequately represented:

         where, as here, the interests of the applicant in every manner match those of an existing
         party and the party's representation is deemed adequate, the district court is well within



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          its discretion in deciding that the applicant's contributions to the proceedings would be
          superfluous and that any resulting delay would be “undue.”

          The Court in Goodall v. Williams, 2018 WL 2008849 (D. Colo. 2018), to use another

example, after rejecting intervention as of right also rejected permissive intervention for the same

reasons. It instead informed the Republican party that it would entertain an amicus brief on its

behalf.

          Likewise, the Court in League of Women Voters of Virginia v. Virginia State Board of

Elections, 2020 WL 2090679 (W.D. Va., Apr. 30, 2020), rejected permissive intervention after

denying intervention as of right:

          The Court also has already emphasized that the interest the Prospective lntervenors
          purport is at stake in this case is one that is common to at least any Virginian who has
          registered to vote. The Court is not inclined to open the floodgates on this lawsuit to any
          voter in the state who would like to intervene. Permitting the Prospective lntervenors to
          enter this litigation would risk converting this lawsuit into a public forum, clearly
          prejudicing the individual parties in this suit and causing needless complication and delay
          to their proceedings.

Id. at *6 (citations omitted).

          Because the putative Intervenor here has no independent interest in policing Pennsylvania

law, and because the government adequately represents that interest, the Court should exercise

its discretion and deny intervention. See GENSLER, supra, at 525 ("The decision whether to allow

permissive intervention lies within the discretion of the trial court.").

                                              Conclusion

          Plaintiffs respectfully oppose the Motion to Intervene in this case.




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                                           s/ Drew Gray Miller

                                           Drew Gray Miller, Esq. PA ID: 207830
                                           Anderson & Labovitz, LLC
                                           428 Forbes Ave., Suite 1901
                                           Pittsburgh, PA 15219
                                           Mobile: 412-760-3286
                                           Fax: 412-291-1001
                                           dmiller@PaLawFirm.com
                                           Counsel of Record

                                           Attorney for Plaintiffs




Oliver B. Hall                             Mark R. Brown
CENTER FOR COMPETITIVE DEMOCRACY           303 East Broad Street
P.O. Box 21090                             Columbus, OH 43215
Washington, D.C. 20009                     (614) 236-6590
(202) 248-9294                             (614) 236-6956 (fax)
oliverhall@competitivedemocracy.org        mbrown@law.capital.edu


                                           Attorneys for Plaintiffs




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